*** OKLAHOMA EDUCATIONAL TELEVISION AUTHORITY — ISSUANCE OF BONDS PAYABLE FROM PUBLIC BUILDING FUND **** THE OKLAHOMA EDUCATIONAL TELEVISION AUTHORITY MAY ISSUE BONDS PAYABLE FROM THE FUNDS ON HAND IN THE PUBLIC BUILDING FUND WHICH ARE NOT OTHERWISE APPROPRIATED, BUT MAY NOT ISSUE BONDS PAYABLE FROM FUTURE FUNDS OF THE PUBLIC BUILDING FUND UNTIL SUCH TIME AS ITS FUNDS ARE ON HAND. (GARY M. BUSH)